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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001         Case No. 03-md-1570 (GBD)(SN)



FIONA HAVLISH, individually and on behalf of the      Case No. 03-cv-9848 (GBD)(SN)
ESTATE OF DONALD G. HAVLISH, JR., Deceased, et al.,

       Creditors,

v.

THE TALIBAN, et al.,

       Debtors,

FEDERAL RESERVE BANK OF NEW YORK,

       Garnishee.


JOHN DOES 1 THROUGH 7,                                Case No. 20-mc-0740 (GBD)(SN)

       Creditors,

v.

THE TALIBAN, et al.,

       Debtors,

FEDERAL RESERVE BANK OF NEW YORK,

       Garnishee.



    HAVLISH AND DOE CREDITORS’ JOINT REPLY TO THE BRIEFS OF
 AMICI CURIAE CONCERNING THEIR MOTIONS FOR TURNOVER OF ASSETS
       FROM GARNISHEE FEDERAL RESERVE BANK OF NEW YORK
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I.     Introduction

       Section 201(a) of the Terrorism Risk Insurance Act of 2002 (“TRIA”), Pub. L. No. 107–

297, 116 Stat. 2322, is not a complicated provision of law. It says:

               Notwithstanding any other provision of law . . . in every case in
               which a person has obtained a judgment against a terrorist party on
               a claim based upon an act of terrorism, or for which a terrorist party
               is not immune under [28 U.S.C.] section 1605A or 1605(a)(7) . . . ,
               the blocked assets of that terrorist party (including the blocked assets
               of any agency or instrumentality of that terrorist party) shall be
               subject to execution or attachment in aid of execution in order to
               satisfy such judgment to the extent of any compensatory damages
               for which such terrorist party has been adjudged liable.

The Havlish and Doe Creditors (collectively, the “Joint Creditors”) have “judgments against a

terrorist party,” the Taliban, “on a claim based upon an act of terrorism,” namely the September

11, 2001 attacks (for the Havlish Creditors) and a January 4, 2016 attack in Kabul, Afghanistan

(for the Doe Creditors). See Dkt. 7764 (“Havlish Mot.”); Dkt. 7769 (“Doe Mot.”). Because the

Joint Creditors satisfy these conditions, the statute directs that “the blocked assets of” the Taliban,

which Congress has specifically defined as “including the blocked assets of any agency or

instrumentality of” the Taliban, “shall be subject to execution . . . in order to satisfy such judgment

to the extent of any compensatory damages for which [the Taliban] has been adjudged liable.”

(emphasis added). And perhaps most importantly, TRIA expressly states that this mandatory result

must be obtained “[n]otwithstanding any other provision of law[.]”

       Neither DAB nor the Taliban have appeared in this proceeding to contest the inevitable

conclusion of this analysis. Nor has the Federal Reserve Bank of New York, which has been duly

served in its capacity as garnishee. However, several well-meaning amici curiae have filed briefs




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taking issue with the result the law requires.1 But none of the legal arguments amici advance

provide the Court any basis to depart from the result that TRIA demands. Amici contend that

sovereign immunity bars execution against the DAB Assets. But the plain text of TRIA and an

unbroken line of case law makes clear that whenever sovereign immunity poses an obstacle to

execution of a terrorism judgment, terror victims’ rights to execute against blocked assets must

prevail. Amici also wrongly assert that these turnover proceedings cannot reach the DAB Assets

because the Taliban does not own them. Yet TRIA expressly provides that property of agencies

and instrumentalities of terrorist parties can be executed upon in satisfaction of eligible judgments.

And the Joint Creditors easily satisfy the time of filing rule raised by Mr. Faiq because DAB was

an agency or instrumentality of the Taliban at the time their turnover motions were filed.

        It is unfortunate that the Joint Creditors—the victims of terrorist attacks facilitated by and

perpetrated with the material support of the Taliban—now find themselves at legal odds with other

victims of the second Taliban takeover of Afghanistan. But that unfortunate situation does not

change the facts that (1) DAB is now fully controlled by a designated terrorist group that this Court

already adjudged to be liable for the murder of thousands of American citizens; and (2) the political

branches of the federal government—through both executive actions and statutory law—have, as

a consequence, deliberately made half of the DAB Assets subject to turnover to terror victims,

after having made the other half available for humanitarian relief to the Afghan people.

        The Taliban is already using Afghan institutions, including DAB, to reimpose its reign of

terror over the Afghan people. Amici minimize what the Taliban’s control over Afghanistan (and

DAB) means. The United States, on the other hand, continues to view the Taliban, as it did prior



1
 Amicus Brief of Afghan Civil Society Organizations (“Civil Society Br.”), Dkt. 7896-1; Amended Amicus Brief
of Naseer Faiq (“Faiq Br.”), Dkt. 7932-1; Amicus Brief of Unfreeze Afghanistan (“Unfreeze Br.”), Havlish Dkt.
617; Amicus Brief of Women’s Forum on Afghanistan, Dkt. 7823.


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to 9/11, as a terrorist entity with close ties to al Qaeda whose control over Afghan territory and

DAB risks the establishment of safe havens for terrorists and a never-ending source of financing

for them.2 The Taliban is also reverting to form in other ways, subjecting Afghanistan to its radical

extremist rule and carrying out a brutal campaign of reprisals.3

        Amici curiae come forward with complaints, observations, and proposals concerning the

$3.5 billion in frozen assets of DAB that the President has determined should be subject to these

turnover proceedings by terror victims. Amici variously complain, for example, that “the U.S.

government’s decision to freeze the Afghan Assets has [had] serious and widespread effects,” and

assert that the assets should instead be “used for the people of Afghanistan to prevent further

deterioration of the economic, humanitarian, and human rights circumstances of Afghan civilians,”

Civil Society Br. vi, 5; that the assets should be “kept as sovereign reserves to maintain the value

of the Afghan currency,” id. at 1; that they should be “releas[ed] in a limited, monitored, and

conditional way” for the purpose of “restoring liquidity,” Unfreeze Br. 8-9; that they should be

“safeguard[ed] . . . presumably to recapitalize a central bank, whenever and however that can be

done,” Faiq Br. 8; or that they should, like the other half of DAB’s U.S.-based assets, be allocated



2
  See Havlish Mot. 19-20; Expert Declaration of Alex Zerden, Dkt. 7766 (“Zerden Decl.”) ¶¶ 40-43 (discussing
the Taliban’s continued “close contacts” with al Qaeda and the U.S. Government’s assessment that the Taliban’s
takeover of Afghanistan raises “the possibility of terrorist safe havens re-emerging”); UN Security Council,
Twenty-ninth report of the Analytical Support and Sanctions Monitoring Team, U.N. Doc. S/2022/83 (Feb. 3,
2022), at 5, 6, 15, 16, 21 (highlighting Taliban-al Qaeda ties and noting that since the Taliban takeover, “terrorist
groups enjoy greater freedom [in Afghanistan] than at any time in recent history”); U.S. Department of State,
Country Reports on Terrorism 2020: Afghanistan (Dec. 16, 2021), https://www.state.gov/country-reports-on-
terrorism-2/ (“In 2020, the Taliban and the affiliated [Haqqani Network] continued attacks targeting Afghan
civilians and government officials,” and “relations between al-Qa’ida and the Taliban remained close.”).
3
  See Barbara Marcolini, Sanjar Sohail, and Alexander Stockton, The Taliban Promised Them Amnesty. Then
They Executed Them., N.Y. Times (April 12, 2022), https://www.nytimes.com/interactive/2022/04/12/opinion
/taliban-afghanistan-revenge.html; see also Civil Society Br. 6 (“The Taliban has escalated a severe human rights
crackdown against the Afghan people[,] engag[ing] in the systematic persecution of religious and ethnic
minorities, women and girls, human rights defenders, journalists and media personnel, and former government
officials and security forces, among others.”); Faiq Br. 1 (“The Taliban[’s] hostile occupation has terrorized
Afghanistan[.]”).


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“for the benefit of the Afghan people.”4

        Amici’s sentiments are understandable. But achieving their preferred outcomes would

require alternative foreign policy determinations that can be made only in the White House and

Congress, not by an Article III court. And many of these policy considerations have already been

weighed and considered. In fact, after more than five months of deliberations “at the highest levels

of government” (which necessitated two extensions of the government-sought stay of these

proceedings), Dkt. 7629, President Biden determined on February 11, 2022 that terror victims may

seek to satisfy their judgments against the Taliban by executing on half of DAB’s assets at the

FRBNY, subject to the Court’s determination that such execution comports with the law. Those

executive actions confirm the Court’s authority to make that legal determination.

        The political branches made these policy decisions in light (or in anticipation) of all

relevant facts. The President used authority granted to him by Congress to block all DAB assets in

the United States. The Government then licensed half of those funds so that they could be used for

“the benefit of the Afghan people.” Executive Order 14,064 ensures that the other half remains

blocked, so the Taliban is never allowed to use its control over DAB to deploy those funds in

furtherance of its terrorist ends.5 That is the key reason those funds are not accessible to DAB

today.6 And the President took these actions knowing that, through TRIA, Congress had ensured




4
  See Women’s Forum Br. (“We do not understand why this protection sought should not extend to the full $7
billion that have been frozen.”); see also Fact Sheet: Executive Order to Preserve Certain Afghanistan Central
Bank Assets for the People of Afghanistan, White House (Feb. 11, 2022), https://www.whitehouse.gov/briefing-
room/statements-releases/2022/02/11/fact-sheet-executive-order-to-preserve-certain-afghanistan-central-bank-
assets-for-the-people-of-afghanistan/ (“Feb. 11 Fact Sheet”).
5 87 Fed. Reg 8391 (Feb. 11, 2022). Even absent Executive Order 14,064, it would have likely been determined
that the funds were blocked under Executive Orders 13,224 and 13,268, which continue to apply to “all property
and interests in property” in which the Taliban has an interest. Havlish Mot. 10–11.
6
 Indeed, even the Court’s decision to deny the pending turnover motions would not bring about the “unfreezing”
of the assets sought by amici, nor effectuate the various other proposals amici have made.


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that in situations like this, where the President has blocked the property of a terrorist party’s agency

or instrumentality to prevent it from being accessed by terrorists, that property would instead be

available to the terrorists’ victims—notwithstanding any other law.

        In other words, the turnover order required by the law in this case is the result of a careful

balance of difficult policy decisions made by the political branches. Those political branches

weighed the importance of permitting victims of terrorism to recover on duly-entered judgments

against other U.S. foreign policy concerns—and determined the balance between those priorities

favored the judgment holders.7 Amici ask this Court to step in and upset that careful balance by

imposing an alternative equitable calculation of its own devise. The Court must instead defer to

the judgment of the political branches on this fundamental question of policy.

        For all of these reasons, notwithstanding the novelty of this situation, a straightforward

application of settled legal principles leads inexorably to the conclusion that turnover is both

appropriate and required by TRIA.

II.     Argument

        A.       Straightforward Application Of TRIA Mandates Turnover

        While amici raise several issues, one argument is notable in its absence: none dispute that

DAB is now an agency or instrumentality of the Taliban under a straightforward application of the

Kirschenbaum factors—the Second Circuit’s test for whether turnover defendants “are ‘agencies




7 See Kirschenbaum v. 650 Fifth Ave.
                                      & Related Properties, 830 F.3d 107, 134 (2d Cir. 2016) (“Congress enacted
TRIA § 201 to deal comprehensively with the problem of enforcement of judgments rendered on behalf of
victims of terrorism in any court of competent jurisdiction by enabling them to satisfy such judgments through
the attachment of blocked assets of terrorist parties.” (internal quotation marks omitted)), abrogated on other
grounds by Rubin v. Islamic Republic of Iran, 138 S. Ct. 816 (2018); see also H. REP. NO. 107-779, at 27 (2002)
(Conf. Rep.) (“It is the intent of the Conferees that Section 201 establish that such judgments are to be
enforced.”).


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or instrumentalities’ of a terrorist party under the TRIA.” Kirschenbaum, 830 F.3d at 135.8 Amici

do not meaningfully dispute that DAB is a means through which the Taliban accomplishes its

functions, that DAB provides material service to the Taliban, or that DAB is controlled and

directed by the Taliban. See Havlish Mot. 18–21. Indeed, additional evidence demonstrating this

reality continues to mount.9

        Amici argue that this Court must not apply that test because the Second Circuit did not

anticipate its application in this specific case. Civil Society Br. 16–17, 19 n.26. This Court,

however, must apply the law as it has been interpreted. “The meaning of words in a statute cannot

change with the statute’s application.” United States v. Santos, 553 U.S. 507, 522–23 (2008)

(plurality opinion); see also United States v. Vilar, 729 F.3d 62, 75 (2d Cir. 2013) (a statute, once

interpreted “in unmistakable terms,” must be given the same meaning “in every case”). Amici’s

arguments boil down to a belief that either the en banc Second Circuit or the Supreme Court should

change the meaning assigned to the statutory text by the Kirschenbaum panel. That is unlikely to

happen because the panel’s analytical framework is sound and can lead to no other result regardless

of context. See 830 F.3d at 132–35. But that belief certainly has no power here, where litigants

must grapple with binding authority rather than asserting that binding authority ought not bind.

        B.       TRIA Removes Obstacles To The Execution Of The Joint Creditors’
                 Judgments, Including Sovereign Immunity

        Amici focus significantly on an issue that is legally irrelevant: the potential implications of

foreign sovereign immunity on this action. That issue is irrelevant because, where any provision

of the Foreign Sovereign Immunities Act (“FSIA”) poses an obstacle to the execution of a


8
 The Unfreeze Brief asserts in conclusory fashion that the Kirschenbaum factors are not satisfied, Br. at 6, but
does not refute any of the facts established in the Joint Creditors’ turnover papers.
9
 See Expert Declarations of Peter Piatetsky and Michael Templeton, Owens v. Taliban, No. 22-CV-1949-VEC
(SDNY), Dkts. 50 & 51 (finding that “the Taliban directs and controls DAB” and uses it to “finance terrorism”).


                                                       6
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judgment under TRIA, that conflict “must be resolved in favor of the TRIA.” Gates v. Syrian Arab

Republic, No. 11-CV-8715, 2013 WL 1337223, at *6 (N.D. Ill. Mar. 29, 2013), aff’d, 755 F.3d

568 (7th Cir. 2014); see also U.S. Statement 24 (“Under TRIA, the FSIA’s immunities and

exemptions are inapplicable[.]”). This is as true for the central bank immunity conferred by FSIA

Section 1611(b) as it is for any other form of sovereign immunity conferred by the FSIA, as the

Supreme Court itself has said. See Bank Markazi v. Peterson, 578 U.S. 212, 217 n.2 (2016) (While

“the FSIA’s central-bank immunity provision limits” execution through other mechanisms of law,

it does “not [limit] the TRIA” because TRIA “take[s] precedence over ‘any other provision of

law[.]’”); Peterson v. Islamic Republic of Iran, No. 10-CV-4518, 2013 WL 1155576, at *25

(S.D.N.Y. Mar. 13, 2013) (“TRIA’s ‘notwithstanding’ clause . . . preempts central bank immunity

to the extent it would apply.”); Levin v. Bank of N.Y. Mellon, No. 09-CV-5900, 2013 WL 5312502,

at *15–16 (S.D.N.Y. Sept. 23, 2013) (“Even if [central bank]’s assets did fall under the protection

of FSIA § 1611(b)(1), that immunity is overridden by the subsequently enacted TRIA § 201(a).

. . . The language of TRIA, the purpose of its enactment, and its subsequent enactment to

§ 1611(b)(1), all indicate that the TRIA waiver of immunity must control when the two provisions

are in conflict.”).10

                 1.       TRIA Supersedes The FSIA, Which Is The Sole Source Of Foreign
                          Sovereign Immunity In U.S. Courts

        The FSIA sets forth “the sole and exclusive standards to be used in resolving questions of



10
  Certain amici also raise the looming specter that an application of TRIA would threaten confidence in the
United States as the global reserve banker, which they assert is dependent on recognition of central bank
immunity. See Faiq Br. 6–7, 12; Civil Society Br. 15. (Notably, the FRBNY has yet to raise this concern in this
case.) Amici’s desire to reframe a legal question as a policy issue is an untenable basis on which to premise a
decision. Their policy conjecture is also unsupported. It is unlikely that any foreign government will rethink its
decision to deposit assets at the Fed out of fear that it will someday be toppled by designated terrorists—an event
which has happened twice in modern history, both times by the Taliban in Afghanistan—and that its central
bank’s assets might, as a result, be made available to those terrorists’ victims by application of TRIA.


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sovereign immunity raised by foreign states before Federal and State courts in the United States.”

MacArthur Area Citizens Ass’n v. Republic of Peru, 809 F.2d 918, 919 (D.C. Cir. 1987) (quoting

H. REP. NO. 94-1487 (1976)).11 “After the enactment of the FSIA, the Act—and not the pre-

existing common law—indisputably governs the determination of whether a foreign state is

entitled to sovereign immunity.” Samantar v. Yousuf, 560 U.S. 305, 313 (2010).

        As the United States pointed out in its Statement of Interest, “[u]nder TRIA, the FSIA’s

immunities and exemptions are inapplicable[.]” U.S. Statement 24; see also Hausler v. JP Morgan

Chase Bank, N.A., 770 F.3d 207, 211 (2d Cir. 2014) (“Congress . . . has created terrorism-related

exceptions to immunity under FSIA. One such exception is TRIA’s authorization of the attachment

of the property of terrorist parties and that of their agencies or instrumentalities to satisfy certain

judgments issued against them.” (citation omitted)); Hill v. Republic of Iraq, No. 99-CV-3346,

2003 WL 21057173, at *2 (D.D.C. Mar. 11, 2003) (“[B]y its plain terms, the TRIA overrides any

immunity from execution that blocked [terrorist party] property might otherwise enjoy under . . .

the FSIA”); Smith v. Fed. Rsrv. Bank of New York, 280 F. Supp. 2d 314, 319 (S.D.N.Y.)

(same), aff’d 346 F.3d 264 (2d Cir. 2003). If the FSIA is the sole source of foreign sovereign

immunity in U.S. courts (and it is), and if TRIA makes the FSIA inapplicable to this case (which

it does), the Court can draw only one logical conclusion: foreign sovereign immunity can have no

bearing on the outcome of this proceeding.12


11Some amici acknowledge this reality. Unfreeze Br. 7 (“[I]n the United States the rules of sovereign immunity
have, since 1976, been codified in the FSIA. . . . We understand that in the U.S. courts U.S. legislation will
always take precedence over conflicting international legal norms.”).
12
  Amici’s references to customary international law and treaty law are equally inapposite. See, e.g., Civil Society
Br. 11–13. The sole operative source of sovereign immunity for state assets in U.S. courts is the FSIA, and TRIA
nullifies the FSIA in this context. References to treaty law are particularly inapposite given binding precedent
that TRIA preempts treaty obligations. Weinstein v. Islamic Republic of Iran, 609 F.3d 43, 53 (2d Cir. 2010). To
the extent amici rely on statutory canons suggesting that ambiguous laws should be interpreted in consonance
with international law or pre-TRIA principles from the Restatement (Third) of Foreign Relations Law, they are



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        It does not matter whether the superseded immunities are styled as jurisdictional or

execution immunities. Faiq Br. 13–17. As Mr. Faiq concedes, both immunities flow from, and are

comprehensively governed by, the FSIA. Id. at 13 (“[T]hrough the FSIA,” Congress has

immunized DAB from jurisdiction and attachment); see also id. at 14 (assets are immune from

attachment “under section 1611 of the FSIA”). Both are thus abrogated by TRIA’s supersession

of the FSIA. See Weininger v. Castro, 462 F. Supp. 2d 457, 488 (S.D.N.Y. 2006) (“[T]he

‘notwithstanding any other provision of law’ language in TRIA operates as an exception to

immunity from both jurisdiction and execution [under the FSIA].” (emphasis added)). Indeed,

TRIA itself is an independent source of subject matter jurisdiction in cases (like this one) where

its conditions are met—even if jurisdiction is asserted over assets of an agency or instrumentality

“not itself named in the [underlying] judgment.” Weinstein, 609 F.3d at 50 (It is “clear beyond

cavil that Section 201(a) of the TRIA provides courts with subject matter jurisdiction over post-

judgment execution and attachment proceedings against property held in the hands of an

instrumentality of the judgment-debtor[.]”); accord Caballero v. FARC, No. 20-CV-7602, 2021

WL 6135758, at *9 (C.D. Cal. Dec. 29, 2021). There is thus no question that this Court has

jurisdiction over the blocked DAB assets—that jurisdiction is conferred by TRIA itself.

                2.      TRIA’s “Or For Which” Clause Does Not Reincorporate The FSIA
                        Into TRIA

        Mr. Faiq urges the Court to revive the FSIA’s displaced immunities because Section 201(a)

of TRIA mentions two provisions of the FSIA. But he misunderstands the purpose of these

references. Faiq Br. 15–16. The relevant portion of TRIA says: “Notwithstanding any other



mistaken: the operative language of TRIA is not ambiguous. “As the Supreme Court has observed, ‘a clearer
statement’ of intent to supersede all other laws than a ‘notwithstanding clause’ is ‘difficult to imagine.’”
Peterson, 2013 WL 1155576, at *25 (first citing Vimar Seguors y Reaseguros, S.A. v. M/V Sky Reefer, 515 U.S.
528, 554 (1995), and then citing Cisneros v. Alpine Ridge Grp., 508 U.S. 10, 18 (1993)).


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provision of law, . . . in every case in which a person has obtained a judgment against a terrorist

party on a claim based upon an act of terrorism, or for which a terrorist party is not immune under

section 1605A or 1605(a)(7),” blocked assets of the terrorist party and its agencies or

instrumentalities must be available for execution. TRIA § 201(a). Mr. Faiq contends that because

the quoted “or for which” clause references 28 U.S.C. § 1605A and the former § 1605(a)(7), which

are part of the FSIA, Congress “could not have intended” to dispense with the FSIA’s immunities.

        That is wrong. The relevant language identifies which judgments are eligible for execution

under TRIA. The blocked assets of every terrorist party are subject to execution “in every case in

which a person has obtained a judgment against [that] terrorist party on a claim based upon an act

of terrorism[.]” This operates as a blanket waiver of sovereign immunity for judgments (like the

Joint Creditors’) premised on all such claims. The next clause, “or for which a terrorist party is not

immune under section 1605A or 1605(a)(7),” which refers to the FSIA, is set off by the word “or”

and further expands the set of judgments on which TRIA enables execution.13 TRIA directs that

execution shall be available “in every case” where a person has obtained a judgement in one of



13
   Mr. Faiq suggests it would render the second clause mere surplusage to interpret the first clause as abrogating
jurisdictional immunity. Faiq Br. 15. Not so. Multiple courts have suggested that TRIA’s first clause may operate
to remove obstacles to execution of judgments against non-state actors (like the Joint Creditors’ judgments
against the Taliban) even if it does not include judgments against state actors (despite the clear definition of
“terrorist party” that sweeps in both). See, e.g., Jerez v. Republic of Cuba, 777 F. Supp. 2d 6, 28 (D.D.C. 2011);
Weininger, 462 F. Supp. 2d at 480. And Jerez suggested that not all acts of state-backed torture may qualify as
“act[s] of terrorism” for purposes of TRIA’s first clause. 777 F. Supp. 2d at 29 (“[T]his Court finds that the acts
perpetrated against Plaintiff, albeit egregious, do not constitute ‘acts of terrorism’ for purposes of TRIA[.]”).
That means that the second clause operates to extend enforcement jurisdiction over additional judgments against
state sponsors of terror not encompassed by the first clause. The clause could also be construed to permit
execution against assets of states designated as sponsors of terrorism at the time the relevant judgment was
entered but which were later removed from that list before the assets were executed upon.

In any event, the plain text of the first clause so clearly sweeps in the Joint Creditors’ judgments that resort to
any other canon of interpretation is improper. “[I]n interpreting a statute a court should always turn first to one,
cardinal canon before all others. We have stated time and again that courts must presume that a legislature says
in a statute what it means and means in a statute what it says there. When the words of a statute are unambiguous,
then, this first canon is also the last: judicial inquiry is complete.” Connecticut Nat’l Bank v. Germain, 503 U.S.
249, 253–54 (1992) (internal citations and quotation marks omitted).


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these two categories. And TRIA’s “notwithstanding” clause abrogates all otherwise applicable

immunities with respect to both categories of judgments.

               3.      There Is No Authority Suggesting The FSIA Applies In A TRIA
                       Proceeding

       None of the cases amici cite for the proposition that the FSIA’s immunities continue to

apply in a TRIA execution proceeding actually support that point. In fact, none of those cases

concerned the FSIA at all. Ministry of Defense & Support for the Armed Forces of the Islamic

Republic of Iran v. Elahi, 556 U.S. 366, 386 (2009) did not concern the FSIA—the Supreme Court

there rejected an argument that TRIA’s notwithstanding clause did not abrogate another provision

of TRIA itself. In Smith v. Federal Rsrv. Bank of New York, 346 F.3d 264 (2d Cir. 2003), the

Second Circuit held that TRIA did not abrogate the President’s ability to confiscate assets under

Section 1702(a)(1)(C) of IEEPA before the terror victims even obtained a judgment. In United

States v. Holy Land Found. for Relief & Dev., 722 F.3d 677, 688-89 (5th Cir. 2013), the Fifth

Circuit held that TRIA did not bar the Justice Department from collecting blocked property under

the general criminal forfeiture statute—and the same statute was at issue in the United States’ brief

in In re Fifth Avenue & Related Props., No. 17-3258(L), (2d Cir. Aug. 31, 2018), 2018 WL

4193437, at *307-09 [hereinafter “U.S. Fifth Ave. Br.”].

       Amici have not cited to a single case where any court has said that the immunities conferred

by the FSIA restrict the execution of a judgment under TRIA. The reason is because no such case

exists. The Joint Creditors have no quarrel with the uncontroversial proposition that TRIA does

not “lay waste to all other statutes that might have some effect within [its] realm.” Faiq Br. 16

(quoting U.S. Fifth Ave. Br., 2018 WL 4193437, at *307 (emphasis in original)). But what TRIA’s

“notwithstanding” clause does do is “resolve conflicting legal principles that dictate irreconcilable

legal outcomes.” Id. Amici assert that the outcome required by TRIA is barred by conflicting legal



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principles of sovereign immunity. That is precisely the situation in which the courts (including the

Second Circuit) have said the “notwithstanding” clause does its work and removes the conflict.

See Peterson v. Islamic Republic of Iran, 758 F.3d 185, 190 n.2 (2d Cir. 2014) (“TRIA . . . contains

a broad provision stating that it applies ‘notwithstanding any other provision of law,’ and ‘the

Courts of Appeals have regularly interpreted such ‘notwithstanding’ provisions ‘to supersede all

other laws[.]’” (quoting Weinstein, 609 F.3d at 53)).

               4.      The Joint Creditors Hold Valid Underlying Judgments

       Mr. Faiq alternatively suggests that TRIA cannot confer jurisdiction over these proceedings

unless the Creditors’ underlying judgments satisfy the FSIA, citing Vera v. Banco Bilbao Vizcaya

Argentaria, S.A. (“Vera II”), 946 F.3d 120 (2d Cir. 2019), and Kirschenbaum. Faiq Br. 16–17.

       Mr. Faiq misconstrues the case law. Those decisions (and those on which they are based)

stand for the uncontroversial proposition that a court may not authorize post-judgment execution

proceedings unless the judgment on the merits underlying the enforcement proceeding was validly

entered. See Vera v. Republic of Cuba (“Vera I”), 867 F.3d 310, 312 (2d Cir. 2017) (post-judgment

enforcement void where district court “lacked subject matter jurisdiction to enter judgment” in the

first instance). In Vera II, the Second Circuit dismissed the judgment creditors’ enforcement

proceeding solely on the basis that their underlying state court judgments were invalid (because

the courts lacked jurisdiction to enter them in the first instance). 946 F.3d at 142. The court

expressly noted that TRIA “would [have] provide[d] the District Court . . . a jurisdictional basis

for enforcing those state judgments” if said judgments were “valid.” Id. at 125. And in

Kirschenbaum, the court merely noted in dicta that the validity of the underlying judgments (there,

multiple judgments under the FSIA) was not in question. 830 F.3d at 131. In this case, because

there is no question that the underlying judgments are valid, the Court should enforce them.




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        C.       DAB’s Status As An Agency And Instrumentality Of The Taliban Makes Its
                 Assets Subject To Execution

        Mr. Faiq and the Civil Society amici next argue that the DAB Assets cannot be available

to satisfy the Joint Creditors’ judgments against the Taliban because the Taliban does not “actually

own[]” them, insisting instead that the assets are the property of the Afghan people or the Afghan

state. Faiq Br. 18; Civil Society Br. 1-2. This argument disregards the text of TRIA, which could

not be clearer: the “blocked assets of [a] terrorist party” are subject to execution to satisfy

judgments against that terrorist party, and a terrorist party’s blocked assets specifically “includ[e]

the blocked assets of any agency or instrumentality of that terrorist party.” TRIA § 201(a).

Accordingly, as the Second Circuit has repeatedly held, TRIA authorizes execution against

property of an “an agency or instrumentality of [a] terrorist party, even if the agency or

instrumentality is not itself named in the judgment.” Kirschenbaum, 830 F.3d at 132; see also

Weinstein, 609 F.3d at 49-50 (rejecting argument that would have “rendered superfluous” TRIA’s

“any agency or instrumentality” provision).

        It is plain, then, that the Joint Creditors need not show that the DAB Assets are “actually

own[ed]” by the Taliban itself.14 All that need be shown to satisfy the requirement embodied in

TRIA’s “assets of” language is that (a) DAB has a property interest in the blocked assets; and

(b) DAB is an agency or instrumentality of the Taliban. See Weininger, 462 F. Supp. 2d at 479

(“[B]y its terms[,] § 201 provides that the blocked assets that may be executed upon are those of

either the ‘terrorist party’ or ‘any agency or instrumentality of that terrorist party[.]’” (emphasis

added)). The Joint Creditors have conclusively established both requirements, and neither



14
   In any case, the Civil Society amici are doubly wrong where they assert that “nowhere in their Turnover
Motions do Plaintiff-Creditors make the assertion that the DAB Assets are the assets ‘of’ the Taliban.” Br. 17.
The Joint Creditors each argue in the alternative that the DAB Assets are assets “of” the Taliban because DAB
is so controlled by the Taliban that the two parties are alter egos of each another. Havlish Mot. 24; Doe Mot. 23.


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conclusion is affected by the argument that the assets belong to the Afghan people or state.

        It cannot be meaningfully disputed that DAB has a property interest recognized by New

York law15 in the blocked assets, which are held in an account at FRBNY in DAB’s name. See

Mot. 17-18; Mitchell Decl. ¶¶ 5, 7–8 & Exs. 4, 6; see also U.S. Statement 8. A party holding funds

in a bank account is presumed to own those assets. See Karaha Bodas Co. v. Perusahaan

Pertambangan Minyak Dan Gas Bumi Negara, 313 F.3d 70, 86 (2d Cir. 2002); Hausler v. JP

Morgan Chase Bank, N.A., 127 F. Supp. 3d 17, 49 (S.D.N.Y. 2015) (“There is no question that

under New York law, the account holder of accounts containing assets belonging to the account

holder has a property interest in those assets.”).

        This case is thus a far cry from Heiser v. Islamic Republic of Iran, 735 F.3d 934 (D.C. Cir.

2013) and Hausler, 770 F.3d 207, each cited in Mr. Faiq’s brief. See Faiq Br. 18-20. To begin

with, those cases clearly do not suggest that TRIA only subjects the assets of a judgment debtor

itself to attachment; turnover was denied in those cases because “no terrorist party or agency or

instrumentality thereof ha[d] a property interest in” the assets. Hausler, 770 F.3d at 212 (emphasis

added). Rather, those cases concerned what type of an interest in property is sufficient to make

that property the “assets of” a terrorist party or its agency or instrumentality and thus subject to

attachment under TRIA. In both cases, although certain Electronic Fund Transfers (“EFTs”) were

sufficiently connected to Iran and Cuba to be blocked midstream under the applicable sanctions

regimes, the Iranian and Cuban judgment debtors (including their agencies and instrumentalities)

lacked a sufficient property interest in the EFTs while they were held by an intermediary financial




15
  New York property law governs determinations of ownership here. See Calderon-Cardona v. Bank of N.Y.
Mellon, 770 F.3d 993, 1001 (2d Cir. 2014) (internal citations and quotation marks omitted) (where Congress
“attaches consequences, federally defined, to rights created under state law,” courts “look to state law to define
the rights the judgment debtor has in the property the creditor seeks to reach”).


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institution.16 Here, of course, none of these complicated questions exist: The blocked assets are

“assets of” DAB because they are, and remain, in DAB’s bank account. Therefore, so long as the

Court finds that DAB is an agency or instrumentality of the Taliban, DAB’s interest in the assets

is sufficient under TRIA to make those assets subject to execution in satisfaction of eligible

judgments against the Taliban. See Weininger, 462 F. Supp. 2d at 479.

        And DAB is indeed an agency or instrumentality of the Taliban under binding Second

Circuit precedent. None of the amici dispute the facts, exhaustively demonstrated in the Joint

Creditors’ motions and the Zerden Declaration, that DAB is dominated by the Taliban and is being

used as a tool to advance its illicit agenda.17 These facts are more than sufficient. See

Kirschenbaum, 830 F.3d at 135 (an entity is an agency or instrumentality under TRIA if it “(1) was

a means through which a material function of the terrorist party is accomplished, (2) provided

material services to, on behalf of, or in support of the terrorist party, or (3) was owned, controlled,

or directed by the terrorist party”). Mr. Faiq’s contention that “[t]he degree to which the Taliban

might control” DAB is “irrelevant” is simply incorrect—in fact, under Kirschenbaum, it is the

central factual question on which these turnover proceedings hinge.

        Nor does DAB in any way resemble the hypothetical “innocent owner” discussed by the

Second Circuit in Kirschenbaum v. Assa Corp., 934 F.3d 191, 199 & nn. 8–9 (2d Cir. 2019)



16
  See Heiser, 735 F.3d at 936-937 (explaining that Iranian entities were neither the originators nor beneficiaries
of the funds transfers, and the EFTs were blocked only because “Iranian banks would have had a contingent
future possessory interest in the funds”); Hausler, 770 F.3d at 212 (Cuban entities lacked property interest in
midstream EFTs where “no Cuban entity transmitted any of the blocked EFTs . . . directly to the blocking bank”).
17
  See supra Part II.A; Havlish Mot. 18-21; Doe Mot. 17-20. After taking over Afghanistan in 2021, the Taliban
asserted complete control over DAB, including by, among other things, installing sanctioned terrorists without
relevant qualifications to oversee its operations, Zerden Decl. ¶¶ 54–84, and issuing edicts from senior Taliban
leadership for DAB to implement, id. ¶¶ 92–95. The Taliban has also materially benefited from its control of
DAB by, among other things, gaining access to nonpublic information about the Afghan economy and financial
system that has allowed it to consolidate power in Afghanistan and generate additional illicit revenue, including
from the narcotics trade. Id. ¶¶ 146–59.


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(“Assa”), or the “innocent third party[]” discussed by the D.C. Circuit in Heiser, 735 F.3d at 939.

See Faiq Br. 20 & n.19. Assa and Heiser raised the possibility that a party with an “incidental and

perhaps unintentional involvement with a terrorist party” could be unfairly made to pay the

judgments of that terrorist party. Assa, 934 F.3d at 199; see also Heiser, 735 F.3d at 939 (if “the

debtor does not own” the assets in question, “then someone else must,” and that person might be

“an innocent person who then unjustly bears the costs of the debtor’s wrong”). For purposes of

this case, TRIA itself answers those concerns: the blocked assets of a terrorist party “includ[e] the

blocked assets of any agency or instrumentality of that terrorist party,” TRIA § 201(a), so an

agency or instrumentality is not a third party, much less an innocent one. And even if Assa leaves

open the question whether TRIA might give a terrorist party’s agency or instrumentality an

“innocent ownership” or “ignorance” defense to execution if it did not know that it was benefiting

or controlled by the terrorist party, no such defense could apply here. DAB’s top three officials

were installed by the Taliban, and two of them are sanctioned for terrorist activities undertaken as

members of the Taliban. Zerden Decl. ¶¶ 59-82. The Taliban Council of Ministers directs DAB

policy, and the Taliban’s Deputy Prime Minister has chaired DAB meetings. Id. ¶¶ 92-95, 139.

The Taliban flag quite literally hangs over those meetings. Id. ¶¶ 72, 95, 116, 118, 119. Whatever

“ignorance” or “innocent owner” defenses might be available under TRIA, they would have no

applicability here. As in Assa¸ it is “abundantly clear from the record” that DAB knows of these

relevant and derogatory facts. Assa, 934 F.3d at 199 & n.9.

       Amici’s primary objection to the above analysis is that the account at the Fed contains funds

that belong exclusively to the Afghan people and state. Faiq Br. 19; Civil Society Br. 1; Unfreeze




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Br. 4.18 But amici simply do not address the motions’ straightforward argument that DAB, as the

account holder, owns the assets under New York law. They instead argue the Taliban has no such

property interest, ignoring that TRIA clearly and unmistakably makes subject to execution not just

“the blocked assets of [a] terrorist party” but also “the blocked assets of any agency or

instrumentality of that terrorist party.”

        Moreover, even if amici were correct that the DAB Assets are assets “of” the Afghan state,

fundamental principles of property law—as well as E.O. 14,064, the FSIA, and applicable New

York law—confirm that the DAB Assets are also “assets of” DAB. See Peterson, 2013 WL

1155576, at *31 (“There simply is no other possible owner of the interests here other than” Iran’s

central bank); see also Exec. Order No. 14,064 (referring to the DAB Assets as “Property of Da

Afghanistan Bank”); 28 U.S.C. § 1611(b)(1) (referring to “property . . . of a foreign central bank”);

Hausler, 127 F. Supp. 3d at 49 (under New York law, an account holder owns the assets in the

account).19 Because the assets in DAB’s account at the Fed are plainly the “assets of” DAB, and

because DAB is an agency or instrumentality of the Taliban, the assets are subject to execution,

regardless of whether the Afghan state also has an interest in them.20 For purposes of TRIA, which


18
   The Joint Creditors maintain that the Court need not address “whether DAB is or is not an active central bank
of any particular state,” as they have clearly demonstrated (a) Taliban control of DAB and (b) DAB ownership
of the assets, which is all that TRIA requires. Havlish Mot. 21-22. And because any otherwise applicable
immunities are rendered irrelevant here by TRIA, the Court need not weigh in on questions related to DAB’s
status or other issues which might implicate sensitive areas of executive competency. Id. The Joint Creditors
nevertheless engage with amici’s argument on its own terms to demonstrate its inadequacy.
19
  Mr. Faiq’s brief argues in passing that even if DAB (as an instrumentality of the Taliban) has a joint interest
with the State of Afghanistan in the DAB Assets, Afghanistan’s “innocent owner” defense would prevent
turnover. Faiq Br. 20, n.19. But Mr. Faiq’s citation to Assa, which merely speculated that an innocent owner
defense might exist, does not support the proposition that a TRIA action cannot be maintained against a terrorist
instrumentality that knows of its terrorist control (like DAB) merely because an additional “innocent” party
might have some kind of interest in the instrumentality’s assets.
20
  As noted above, the Afghan state’s immunity has been abrogated, and the property of sovereign states is not
protected by the Due Process Clause of the Constitution, leaving no barrier to execution. Frontera Res.
Azerbaijan Corp. v. State Oil Co. of Azerbaijan Republic, 582 F.3d 393, 399-400 (2d Cir. 2009); Price v.
Socialist People’s Libyan Arab Jamahiriya, 294 F.3d 82, 99 (D.C. Cir. 2002) (“[N]othing in the Constitution



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applies here, these two factors are dispositive notwithstanding any other provision of law, and

defeat amici’s arguments.

        Finally, some amici suggest that the Court cannot allow for execution without implicitly

and impermissibly recognizing that the Taliban now constitutes the government of Afghanistan.

See, e.g., Civil Society Br. 3; see also Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 28 (2015)

(the recognition power “resides in the President alone”). But granting turnover would do no such

thing. The Joint Creditors have made plain that they are not claiming that the DAB Assets are the

Taliban’s “by virtue of its claim to be the government of Afghanistan.” Havlish Mot. 21. Instead,

the motions treat the Taliban as a terrorist party that forcibly seized Afghan territory and

institutions, including DAB. Making the obvious factual finding that the Taliban now controls

DAB and its assets in no way implies the legal or diplomatic conclusion that the Taliban is now

the recognized government of Afghanistan. Just as the White House in dealing with these same

issues has publicly acknowledged the fact that the Taliban has achieved a “forced takeover of the

country” without extending it recognition, see Feb. 11 Fact Sheet, supra n.4, the Court can

acknowledge the Taliban’s “forced takeover” of DAB (and the legal conclusions it compels)

without suggesting that the Taliban has the status of Afghanistan’s recognized government.

        D.       DAB’s Agency Or Instrumentality Status Is Evaluated As Of The Date The
                 Turnover Motions Were Filed

        Finally, Mr. Faiq argues that DAB’s agency and instrumentality status should be measured

as of the date the “underlying complaints” were filed, meaning, in this case, the 2002 lawsuit


limits congressional authority to modify or remove” foreign sovereign immunity, and foreign states are not
protected by the Due Process Clause, in part because the alternative would limit “the power of Congress and the
President to freeze the assets of foreign nations, or to impose economic sanctions on them.”).
To the extent amici are arguing that the funds are the “property of the Afghan people,” Faiq Br. 19, as distinct
from the Afghan state, that argument fails. The “Afghan people” are not a juridical entity capable of holding
property, and courts routinely recognize that central banks—which are separate juridical entities capable of
holding property—hold legal title to assets in their account. See, e.g., Peterson, 2013 WL 1155576, at *31.


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through which the Havlish Creditors obtained their judgments against the Taliban or the 2020

lawsuit through which the Doe Creditors obtained theirs. As authority for this rule, Mr. Faiq points

to Kirschenbaum, which asked “whether [the agency or instrumentality] was so owned, controlled,

or directed [by the terrorist party] at the time Plaintiffs’ complaints were filed.” 830 F.3d at 136.

        Kirschenbaum itself made clear, however, that the operative “complaints” for purposes of

this inquiry were not the underlying actions by which the plaintiffs obtained their judgments

against Iran, but instead their turnover actions by which they sought to satisfy those judgments.

The only complaints mentioned anywhere in the Kirschenbaum opinion were the turnover

complaints.21 The opinion’s procedural history section begins, “Plaintiffs began filing these

turnover actions in December 2008,” 830 F.3d at 121, although the underlying lawsuits had been

filed years before. See, e.g., Kirschenbaum v. Islamic Republic of Iran, No. 03-cv-1708 (D.D.C.)

(2003); Rubin v. Islamic Republic of Iran, No. 01-cv-1565 (D.D.C.) (2001). Indeed, in assessing

whether the Alavi Foundation was controlled by Iran “at the time Plaintiffs’ complaints were

filed,” the      Kirschenbaum        court    considered      evidence      and testimony         regarding the

agency/instrumentality relationship in 2005 and 2007—information that would be irrelevant if the

proper inquiry looked only to the time of the underlying complaint. Kirschenbaum, 830 F.3d at

136-137.

        The meaning of the Second Circuit’s decision was clear to the district court, which noted

on remand that “instrumentality status should be determined . . . under TRIA . . . as of the time a

proceeding is commenced to attach property in aid of execution on that judgment.” Kirschenbaum



21Although, as was done here, a turnover proceeding against a third-party garnishee may be commenced in
federal court by the mere filing of a motion, see CSX Transp., Inc. v. Island Rail Terminal, Inc., 879 F.3d 462,
468 (2d Cir. 2018), a turnover action may also be commenced, as in Kirschenbaum, by the filing of a separate
proceeding (i.e., by the filing of a new complaint). See, e.g., Compl., Miller et al. v. Alavi Foundation et al., No.
09-CV-10934 (S.D.N.Y.), Dkt. 1.


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v. 650 Fifth Ave., 257 F. Supp. 3d 463, 518 & n.60 (S.D.N.Y. 2017) (emphasis added), vacated

and remanded on other grounds sub nom. In re 650 Fifth Ave. & Related Properties, 934 F.3d 147

(2d Cir. 2019), and rev’d and remanded on other grounds sub nom. Havlish v. 650 Fifth Ave. Co.,

934 F.3d 174 (2d Cir. 2019). The district court then proceeded to perform that analysis, noting that

“the first of the relevant complaints here was filed in 2009,” years after the underlying liability

complaints were filed, and finding that the defendants were instrumentalities of Iran “throughout

the time each of the Judgment Creditor complaints was filed.” Id. at 522 (emphasis added).

Kirschenbaum thus provides no support for Mr. Faiq’s proposed rule. Here, as in Kirschenbaum,

the relevant moment in time to assess whether DAB was an agency or instrumentality of the

Taliban is March 2022, when the Joint Creditors filed their turnover motions.22

        It would defy logic to measure DAB’s agency or instrumentality status, for the purpose of

this turnover proceeding, as of the time of the “underlying” complaints. Kirschenbaum derived its

rule from an FSIA case, Dole Food Co. v. Patrickson, 538 U.S. 468 (2003), which explained that

because “jurisdiction . . . depends upon the state of things at the time . . . the action [is] brought,” id.

at 478 (internal quotation marks omitted), an entity’s instrumentality status under the FSIA “is

determined at the time of the filing of the complaint,” id. at 480. In other words, to hold a foreign

state’s agency or instrumentality liable under the FSIA, jurisdiction over that entity must exist at

the time the complaint is filed. Here, of course, the Havlish Plaintiffs did not sue DAB in 2002 nor

did the Doe Plaintiffs in 2020. Therefore, there was no reason for the courts to exercise jurisdiction

over DAB at those times. In the 2022 turnover proceeding, the basis for jurisdiction over DAB is


22
  A turnover motion filed in federal court is the equivalent of a separate “special proceeding” under New York
law. See supra n.21; CSX Transp., Inc., 879 F.3d at 468; see also Havlish Mot. 13 & n.34; Doe Mot. 13, n.35;
Dkt. 7650 (Letter of Feb. 10, 2022) (“[U]nder governing law, the Havlish Creditors’ forthcoming motion for
turnover is appropriately treated as equivalent to a new, separate civil action to enforce their judgment.”); Siegel,
New York Practice, § 510 (6th ed.) (“[T]he procedure for seeking [turnover] from a third person is a special
proceeding.”).


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TRIA itself, which “confers an independent basis for subject matter jurisdiction over post-

judgment execution and attachment proceedings against property held in the hands of an agency

or instrumentality of the terrorist party, even if the agency or instrumentality is not itself named in

the judgment.” Kirschenbaum, 830 F.3d at 132. Whether a court has jurisdiction over post-

judgment execution proceedings must be assessed when the post-judgment proceedings are

commenced. Mr. Faiq’s policy concerns about the attachability of DAB’s assets being able to

“vary over time” are thus unfounded. Agency and instrumentality status is measured as of a clear

date in time, i.e., the date judgment creditors seek to satisfy their judgments against the judgment

debtor by seeking turnover of the agency or instrumentalities’ blocked assets.

       E.      The Court Must Defer To The Political Branches’ Determinations That
               Terror Victims Be Permitted To Pursue The DAB Assets

       Finally, each amicus brief raises a set of policy arguments concerning potential purported

consequences for the Afghan people of the DAB Assets either remaining frozen or being used to

satisfy the judgments of American terror victims. They note the difficulties ordinary Afghans are

experiencing in the wake of the Taliban’s takeover and in particular the dire state of the Afghan

economy. And they argue that Afghanistan’s economic plight could further undermine “regional

and global stability and . . . the national security interests of the United States.” Unfreeze Br. 2;

see also Civil Society Br. 4-6; Faiq Br. 12-13.

       The Joint Creditors have no quarrel with the people of Afghanistan, and certainly do not

minimize the enormous hardships they have endured for decades. Furthermore, the Joint Creditors

appreciate the various statements by amici empathizing with the suffering inflicted upon 9/11

victims and their loved ones. See Unfreeze Br. 3; Faiq Br. 4; Civil Society Br. 1.

       Far from providing the Court a basis to deny the Joint Creditors’ turnover motions,

however, the observations of the various amici serve only to highlight the complicated web of



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political, strategic, and moral questions implicated by these proceedings. How ought the United

States combat and deter terrorism? How can the United States balance the importance of

compensating terrorism victims against other foreign policy priorities when they are in tension?

What does the United States owe the Afghan people? On what terms ought the United States

engage with foreign actors when they harbor opposing worldviews, goals, or global terrorists?

           These questions cannot and should not be answered by courts. As the Supreme Court has

wisely admonished,

           [T]he very nature of executive decisions as to foreign policy is political, not judicial. Such
           decisions are wholly confided by our Constitution to the political departments of the
           government, Executive and Legislative. They are delicate, complex, and involve large
           elements of prophecy. They are and should be undertaken only by those directly
           responsible to the people whose welfare they advance or imperil. They are decisions of a
           kind for which the Judiciary has neither aptitude, facilities nor responsibility and have long
           been held to belong in the domain of political power not subject to judicial intrusion or
           inquiry.

Chicago & S. Air Lines v. Waterman S. S. Corp., 333 U.S. 103, 111 (1948). Similar principles

continue to guide courts to this day. See Jesner v. Arab Bank, PLC, 138 S. Ct. 1386, 1403 (2018)

(“The political branches, not the Judiciary, have the responsibility and institutional capacity to

weigh foreign-policy concerns.”).

           Here, the political branches have spoken: Congress gave the President the authority to

impose sanctions that block the assets of terrorists subject to U.S. jurisdiction.23 The President

designated the Taliban as a terrorist entity.24 Congress enacted TRIA to remove obstacles

preventing victims of terrorism from enforcing their judgments in cases where a terrorism

judgment debtor’s assets are blocked.25 On February 11, 2022, the President issued Executive



23
     International Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. § 1701 et seq.
24   Exec. Order No. 13,268 § 1, 67 Fed. Reg. 44,751 (July 2, 2002); 31 C.F.R. §§ 594.201(a), 594.310.
25
     See Weininger, 462 F. Supp. 2d at 483.


                                                       22
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Order 14,064, which blocked DAB’s U.S.-based assets; announced the administration’s intent to

facilitate the use of $3.5 billion of DAB’s blocked U.S.-based assets for the benefit of the Afghan

people “while keeping them out of the hands of the Taliban and malicious actors”; and determined

that the other $3.5 billion of DAB’s U.S.-based assets would remain “subject to ongoing litigation

by U.S. victims of terrorism,” in which “Plaintiffs will have a full opportunity to have their claims

heard in court.”26 President Biden thus specifically determined that terror victims may seek to

satisfy their judgments against the Taliban by executing on the remaining DAB Assets, subject to

the Court’s determination that such execution comports with the applicable legal principles.

        Against the backdrop of these choices by the political branches—each of which struck a

balance or resolved a tension between competing policy priorities—the Court’s role is significant

but circumscribed. President Biden’s February 11, 2022 decisions and the accompanying U.S.

Statement of Interest filed in this case make clear that the Executive Branch expects this Court to

resolve the judgment holders’ motions under TRIA on the merits, and has confirmed the Court’s

authority to do so. See Feb. 11 Fact Sheet, supra n.4; U.S. Statement 5 (“The Court should afford

the Judgment Plaintiffs a full opportunity [to] . . . [set] forth their arguments regarding the

attachability of the unlicensed DAB Assets . . . [and then] evaluate the Judgment Plaintiffs’ claims

in light of settled legal principles, described herein, and against the backdrop of the President’s

prerogatives to conduct the Nation’s foreign policy.”). There is thus no cause for concern that, in

exercising its authority to evaluate the specific legal issues presented by the turnover motions, the

Court will invade upon questions reserved exclusively for the political branches. See Zivotofsky ex

rel. Zivotofsky v. Clinton, 566 U.S. 189, 196 (2012).


26
   See Feb. 11 Fact Sheet, supra n.4. The set of decisions unveiled by the President on February 11 were the
result of months of deliberation requiring “the significant involvement of numerous senior officials and executive
agencies” at “the highest levels of Government.” Dkt. 7390. See also Dkts. 7268, 7629, 7661 (explaining the
Government’s deliberations between October 2021 and February 2022).


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         But at the same time, the Court’s role is limited. It is not to “supplant a foreign policy

decision of the political branches with [its] own unmoored determination of what United States

policy toward [Afghanistan] should be,” but rather to determine whether it can “enforce a specific

statutory right.” Id. That is, the Court’s role is to decide whether, under TRIA and “settled legal

principles,” U.S. Statement 5, the Joint Creditors may satisfy their judgments against the Taliban

by executing on DAB’s blocked assets in the United States.

         It nonetheless bears noting that granting the Joint Creditors’ turnover motions would be

entirely consistent with longstanding policy determinations of the political branches. In the

decades since the September 11 attacks, the United States has aimed powerful financial weapons

at terrorist organizations and their supporters, “reflecting the recognition that one way to forestall

terrorist attacks is to deprive terrorist organizations of money.”27 Blocking the assets of terrorist

organizations like the Taliban prevents them from using those resources to cause harm. Further, as

Congress understood in passing TRIA, allowing terror victims the chance to satisfy their

judgments against the blocked assets of terrorist organizations makes such deprivation permanent,

further deterring terrorist activity.28 By allowing attachment of assets that previously would be




27
  Terrorist Financing and the Islamic State: Hearing Before the H. Comm. on Financial Services (Nov. 13,
2014) (statement of David Cohen, Under Secretary of the Treasury).
28
   148 Cong. Rec. H6134 (daily ed., Sept. 10, 2002) (statement of Rep. Vito Fossella) (“At present, terrorism is
a cheap way to pursue war against Americans. Unless America finds ways to make it more costly, terrorists and
those states that sponsor terrorism have no economic incentive to stop. By imposing a direct and immediate cost,
this provision represents one effective financial tool, one of many, against terrorists and those who help them,
and this will seek to help the victims.”); id. (statement of Rep. Chris Cannon) (“Unless the U.S. finds ways to
make it more costly, terrorists and states which sponsor terrorism have less economic incentive to stop. By
imposing a direct and immediate cost, this language represents one effective financial tool against terrorists and
also helps their victims.”); id. at H6136 (statement of Rep. Mel Watt) (“Compensating victims will not end
terrorism as we know it, but it does raise the price, and it sends a message to terrorist organizations and the states
that sponsor them, we will not stand for the murder of innocent Americans. Those who target Americans will be
punished and not only will you be punished criminally, you will be punished financially as a result of this
language. Using terrorists’ assets to compensate victims punishes terrorists and deters future acts of
violence[.]”) (emphasis added).


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entitled to sovereign immunity, TRIA significantly reduces the incentives for a terrorist entity to

violently seize the machinery of a state and turn its resources into tools of terror—a circumstance

with which Congress was intimately familiar when it enacted TRIA in 2002. See Havlish Mot. 23.

         The freezing of DAB’s assets in August 2021 reflected the United States’ and the

international community’s continued understanding that the Taliban is a dangerous, sanctions-

designated organization. The Taliban’s return to control in Afghanistan risks repeating the history

of the late 1990s, when the Taliban used its dominance over Afghan territory and institutions

(including DAB) to materially support al Qaeda, paving the way for the deadliest terrorist attacks

in modern history. See Zerden Decl. ¶ 40. Today’s Taliban has seized the same territory and the

same institutions (including DAB), installed sanctioned terrorists throughout (including in DAB’s

leadership), and continues to maintain “close ties” to al Qaeda. 29 The current array of terrorism

sanctions imposed on the Taliban, and the United States’ decision to block the DAB Assets so that

they cannot be made available to the Taliban, is a reflection of the political branches’ clear-eyed

assessment that the Taliban would use those assets for malign purposes. Because of Congress’s

decision that such blocked assets should be provided to terror victims rather than held in indefinite

limbo, those assets must be turned over to the Joint Creditors.

III.     Conclusion

         For the foregoing reasons, the Havlish and Doe Creditors’ motions for turnover should be

granted.




29 See U.N. Doc. S/2022/83, supra n.2, at 5-6, 15 (noting that “Al-Qaida . . . received a significant boost following

the Taliban takeover of Afghanistan in August 2021, as some of its closest sympathizers within the Taliban now
occupy senior positions in the new de facto Afghan administration,” and further noting that after the Taliban
takeover, “terrorist groups enjoy greater freedom [in Afghanistan] than any time in recent history”); State
Department Report, supra n.2 (the Taliban and al Qaeda “remain[] close”).


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Dated: May 13, 2022                /s/ Lee S. Wolosky
                                   Lee S. Wolosky
                                   JENNER & BLOCK LLP
                                   1155 Avenue of the Americas
                                   New York, NY 10036
                                   (212) 891-1628
                                   lwolosky@jenner.com

                                   Douglass A. Mitchell (pro hac vice)
                                   JENNER & BLOCK LLP
                                   1099 New York Avenue, NW, Suite 900
                                   Washington, DC 20001
                                   (202) 639-6090
                                   dmitchell@jenner.com

                                   Dennis G. Pantazis
                                   (AL Bar No. ASB-2216-A59D)
                                   WIGGINS CHILDS PANTAZIS
                                   FISHER GOLDFARB, LLC (Lead Counsel)
                                   301 19th Street North
                                   Birmingham, AL 35203
                                   (205) 314-0500

                                   Timothy B. Fleming (DC Bar No 351114)
                                   WIGGINS CHILDS PANTAZIS
                                   FISHER GOLDFARB PLLC
                                   2202 18th Street, NW, #110
                                   Washington, DC 20009-1813
                                   (202) 467-4489

                                   Richard D. Hailey (IN Bar No. 7375-49)
                                   RAMEY & HAILEY
                                   P.O. Box 40849
                                   Indianapolis, IN 46260
                                   (317) 582-0000

                                   Robert M. Foote (IL Bar No. 03124325)
                                   FOOTE, MIELKE,
                                   CHAVEZ & O’NEIL, LLC
                                   10 West State Street, Suite 200
                                   Geneva, IL 60134
                                   (630) 232-7450




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                                Stuart H. Singer (pro hac vice)
                                BOIES SCHILLER FLEXNER LLP
                                401 East Las Olas Blvd., Suite 1200
                                Fort Lauderdale, FL 33301
                                Phone 954 356 0011
                                Fax 954 356 0022

                                David A. Barrett
                                BOIES SCHILLER FLEXNER LLP
                                55 Hudson Yards
                                New York, NY 10001
                                Phone 212 446 2300

                                Counsel for the Havlish Creditors

                                /s/ Orlando do Campo .
                                Orlando do Campo
                                DO CAMPO & THORNTON, P.A.
                                150 S.E. 2nd Avenue, Ste. 602
                                Miami, FL 33131
                                Phone 305 358 6600
                                Email od@dandtlaw.com

                                John Thornton (pro hac vice)
                                DO CAMPO & THORNTON, P.A.
                                150 S.E. 2nd Avenue, Ste. 602
                                Miami, FL 33131
                                Phone 305 358 6600
                                Email jt@dandtlaw.com

                                Daniela Jaramillo (pro hac vice)
                                DO CAMPO & THORNTON, P.A.
                                150 S.E. 2nd Avenue, Ste. 602
                                Miami, FL 33131
                                Phone 305 358 6600
                                Email dj@dandtlaw.com

                                Counsel for the Doe Creditors




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